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                         UNITED STATES DISTRICT COURT
                       IN THE WESTERN DISTRICT OF TEXAS
                            MIDLAND/ODESSA DIVISION


VIRTAMOVE, CORP.,
                                                      C.A. No. 7:24-cv-00033
                Plaintiff,

       v.
                                                      JURY TRIAL DEMANDED
GOOGLE LLC,


                Defendant.

                             NOTICE OF RELATED CASE

       Plaintiff VirtaMove, Corp. (“VirtaMove”) hereby provides notice that the

following related case is pending in this district:

            •   VirtaMove Corp. v. Amazon.com, Inc., et al., Case No. 7:24-cv-0030 (filed

                in W.D. Tex. on January 26, 2024)

 Dated: January 31, 2024                              Respectfully submitted,

                                                      /s/ Reza Mirzaie
                                                       Reza Mirzaie

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